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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

BARBARA BROWN, derivatively on behalf
of ANADARKO PETROLEUM
CORPORATION and OCCIDENTAL
PETROLEUM CORPORATION,

      Plaintiff,

      vs.

R.A. WALKER, ROBERT G. GWIN,
ROBERT P. DANIELS, ERNEST A.               Case No. 1:20-cv-00470-RGA
LEYENDECKER, ANTHONY R. CHASE,
DAVID CONSTABLE, PAULETT
EBERHART, PETER J. FLUOR, JOSEPH W.
GORDER, JOHN R. GORDON, SEAN
GOURLEY, MARK MCKINLEY, and ERIC
D. MULLINS,


      Defendants,

      and

ANADARKO PETROLEUM
CORPORATION and OCCIDENTAL
PETROLEUM CORPORATION,

      Nominal Defendants.

GEORGE WATSON, derivatively on behalf of
ANADARKO PETROLEUM
CORPORATION and OCCIDENTAL
PETROLEUM CORPORATION,

      Plaintiff,

      vs.

R.A. WALKER, ROBERT G. GWIN,
ROBERT P. DANIELS, ERNEST A.               Case No. 1:20-cv-00671- RGA
LEYENDECKER, ANTHONY R. CHASE,
DAVID CONSTABLE, PAULETT
EBERHART, PETER J. FLUOR, JOSEPH W.
GORDER, JOHN R. GORDON, SEAN
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GOURLEY, MARK MCKINLEY, and ERIC
D. MULLINS,

       Defendants,

       and

ANADARKO PETROLEUM
CORPORATION and OCCIDENTAL
PETROLEUM CORPORATION,

       Nominal Defendants.


             JOINT STIPULATION AND [PROPOSED] ORDER CONSOLIDATING
                 RELATED SHAREHOLDER DERIVATIVE ACTIONS

       WHEREAS, on April 3, 2020, Plaintiff Barbara Brown filed a shareholder derivative

action on behalf of nominal defendants Anadarko Petroleum Corporation (“Anadarko” or the

“Company”) and Occidental Petroleum Corporation (“Occidental”) in this Court alleging

breaches of fiduciary duty, unjust enrichment, abuse of control, gross mismanagement, waste of

corporate assets, and violations of Sections 10(b) and 20(a) of the Securities Exchange Act of

1934 against defendants R.A. Walker, Robert G. Gwin, Robert P. Daniels, Ernest A.

Leyendecker, Anthony R. Chase, David Constable, Paulett Eberhart, Peter J. Fluor, Joseph W.

Gorder, John R. Gordon, Sean Gourley, Mark McKinley, and Eric D. Mullins (collectively, the

“Individual Defendants” and together with Anadarko and Occidental, the “Defendants”),

captioned Brown v. Walker, et al., Case No. 1:20-cv-00470-RGA (the “Brown Action”);

       WHEREAS, the complaint in the Brown Action was served on nominal defendants

Anadarko and Occidental on April 6, 2020, whose undersigned counsel also accepted service on

behalf of all Individual Defendants;

       WHEREAS, on February 19, 2020, a putative securities class action, captioned Georgia

Firefighters’ Pension Fund v. Anadarko Petroleum Corp., et al., No. 4:20-cv-00576 (S.D. Tex.)



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was filed in the United States District Court for the Southern District of Texas (the “Securities

Class Action”);

       WHEREAS, on April 27, 2020, the parties to the Brown Action filed a joint stipulation to

stay all proceedings and deadlines in the Brown Action pending resolution of a forthcoming

motion to dismiss the complaint in the Securities Class Action, which the Court so ordered on

April 28, 2020;

       WHEREAS, on May 18, 2020, Plaintiff George Watson (together with Plaintiff Barbara

Brown, “Plaintiffs”) filed a shareholder derivative action alleging the same facts and making the

same claims against the same defendants in this Court, captioned Watson v. Walker, et al., Case

No. 1:20-cv-00671-UNA (the “Watson Action” and together with the Brown Action, the

“Related Derivative Actions”);

       WHEREAS, the complaint in the Watson Action was served on nominal defendants

Anadarko and Occidental on May 19, 2020;

       WHEREAS, under Fed. R. Civ. P. 42(a), when actions involve “a common question of

law or fact,” the Court may “(1) join for hearing or trial any or all matters at issue in the actions;

(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay”;

       WHEREAS, the Related Derivative Actions challenge the same alleged conduct by the

same Company directors and executive officers, and involve the same questions of law and fact;

       WHEREAS, the parties therefore respectfully submit that consolidation of the Related

Derivative Actions is appropriate;

       WHEREAS, to avoid potentially duplicative actions and to prevent any waste of the

Court’s and nominal defendant’s resources, the parties agree that the Related Derivative Actions




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should be consolidated for all purposes, including pre-trial proceedings and trial, into a single

consolidated action;

       WHEREAS, in order to realize the efficiencies made possible by consolidation of the

Related Derivative Actions, the Plaintiffs agree that The Brown Law Firm, P.C., and The Rosen

Law Firm, P.A., the respective resumes of which are attached hereto as Exhibits A and B, shall

be designated as Co-Lead Counsel representing plaintiffs in the consolidated action;

       WHEREAS, the Plaintiffs also agree that Phillips, McLaughlin & Hall, P.A. shall be

designated Liaison Counsel representing plaintiffs in the consolidated action; 1 and

       NOW THEREFORE, the parties, through their undersigned counsel, hereby agree,

stipulate, and respectfully request that the Court enter an Order as follows:

       1.      The stay of proceedings ordered in the Brown Action is hereby lifted for the

limited purpose of permitting this stipulation to be filed and [Proposed] Order to be entered, but

otherwise remains in effect.

       2.      The following actions are hereby consolidated for all purposes, including pre-trial

proceedings and trial, under Case No. 1:20-cv-00470-RGA (the “Consolidated Action”),

pursuant to Federal Rule of Civil Procedure 42(a):

       Case Name                              Case Number                       Date Filed

       Brown v. Walker, et al.                1:20-cv-00470-RGA                 April 3, 2020

       Watson v. Walker, et al.               1:20-cv-00671-UNA                 May 18, 2020

       3.      Every pleading filed in the Consolidated Action, or in any separate action

included herein, must bear the following caption:

                       IN THE UNITED STATES DISTRICT COURT


1
 Defendants take no position on the appointment of Plaintiffs’ Lead Counsel and Liaison
Counsel.


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                           FOR THE DISTRICT OF DELAWARE

IN RE ANADARKO PETROLEUM          Lead Case No. 1:20-cv-00470-RGA
CORPORATION DERIVATIVE LITIGATION


       4.      All papers filed in connection with the Consolidated Action will be maintained in

one file under Lead Case No. 1:20-cv-00470-RGA;

       5.      The Order dated April 28, 2020 (D.I. 11) that effected a stay of proceedings in the

Brown Action shall apply to the Consolidated Derivative Action.

       6.      The undersigned counsel for nominal defendants Anadarko and Occidental accept

personal service of the complaint filed in the Watson Action on behalf of all Individual

Defendants as of today’s date.

       7.      This Stipulation is without prejudice to any and all defenses Defendants may

assert in this or any of the above-referenced actions and without prejudice to any and all claims

Plaintiffs may assert.

       NOW THEREFORE, Plaintiffs, through their undersigned counsel, hereby respectfully

request that the Court enter an order as follows:

       1.      Co-Lead Counsel for plaintiffs for the conduct of the Consolidated Action shall

be:


                               THE BROWN LAW FIRM, P.C.
                                         Timothy Brown
                                      240 Townsend Square
                                     Oyster Bay, NY 11771
                                  Telephone: (516) 922-5427
                                  Facsimile: (516) 344-6204
                              Email: tbrown@thebrownlawfirm.net

                                 THE ROSEN LAW FIRM, P.A.
                                          Phillip Kim
                                 275 Madison Avenue, 40th Floor



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                                       New York, NY 10016
                                     Telephone: (212) 686-1060
                                     Facsimile: (212) 202-3827
                                    Email: pkim@rosenlegal.com

        2.      Plaintiffs’ Co-Lead Counsel shall have the sole authority to speak for plaintiffs in

all matters regarding pre-trial procedure, trial, and settlement negotiations and shall make all

work assignments in such manner as to facilitate the orderly and efficient prosecution of this

litigation and to avoid duplicative or unproductive effort.

        3.      Co-Lead Counsel shall be responsible for coordinating all activities and

appearances on behalf of plaintiffs. No motion, request for discovery, or other pre-trial or trial

proceedings will be initiated or filed by any plaintiffs except through Co-Lead Counsel.

        4.      Liaison Counsel for plaintiffs for the conduct of the Consolidated Action shall be:

                             PHILLIPS, MCLAUGHLIN & HALL, P.A.
                                 John C. Phillips, Jr. (Bar No. 110)
                                  Megan C. Haney (Bar No. 5016)
                                     1200 North Broom Street
                                      Wilmington, DE 19806
                                    Telephone: (302) 655-4200
                                    Facsimile: (302) 655-4210
                                    Email: jcp@pmhdelaw.com
                                   Email: mch@pmhdelaw.com

        5.      Plaintiffs’ Liaison Counsel shall be available and responsible for communications

to and from this Court, including distributing orders and other directions from the Court to

counsel. Liaison Counsel shall be responsible for creating and maintaining a master service list

of all parties and their respective counsel.

        6.      Defendants’ counsel may rely upon all agreements made with Co-Lead Counsel,

or other duly authorized representative of Co-Lead Counsel, and such agreements shall be

binding on all plaintiffs.




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       7.      This Order shall apply to each derivative case arising out of the same, or

substantially the same, transactions or events as the Consolidated Action, that is subsequently

filed in, removed to, reassigned to, or transferred to this Court. When a derivative case that

properly belongs as part of In re Anadarko Petroleum Corporation Derivative Litigation, Lead

Case No. 1:20-cv-00470, is hereafter filed in this Court, reassigned to this Court, or transferred

here from another court, this Court requests the assistance of counsel in calling to the attention of

the Clerk of the Court the filing, reassignment, or transfer of any derivative case that might

properly be consolidated as part of In re Anadarko Petroleum Corporation Derivative Litigation,

Lead Case No. 1:20-cv-00470, and counsel are to assist in assuring that counsel in subsequent

actions receive notice of this order.



IT IS SO ORDERED:
Dated: __________________                             __________________________
                                                      Hon. Richard G. Andrews
                                                      United States District Judge


STIPULATED TO AND APPROVED BY:


Dated: May 27, 2020                             PHILLIPS, MCLAUGHLIN & HALL, P.A.
                                                /s/ John C. Phillips, Jr.___________________
                                                John C. Philips, Jr. (Bar No. 110)
                                                Megan C. Haney (Bar No. 5016)
                                                1200 North Broom Street
                                                Wilmington, DE 19806
                                                Telephone: (302) 655-4200
                                                Facsimile: (302) 655-4210
                                                Email: jcp@pmhdelaw.com
                                                       mch@pmhdelaw.com

                                                [Proposed] Liaison Counsel for Plaintiffs

                                                THE BROWN LAW FIRM, P.C.


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                                    Timothy Brown
                                    240 Townsend Square
                                    Oyster Bay, NY 11771
                                    Telephone: (516) 922-5427
                                    Facsimile: (516) 344-6204
                                    Email: tbrown@thebrownlawfirm.net

                                    THE ROSEN LAW FIRM, P.A.
                                    Phillip Kim
                                    275 Madison Avenue, 40th Floor
                                    New York, NY 10016
                                    Telephone: (212) 686-1060
                                    Facsimile: (212) 202-3827
                                    Email: pkim@rosenlegal.com

                                    [Proposed] Co-Lead Counsel for Plaintiffs



Dated: May 27, 2020                  RICHARDS, LAYTON & FINGER, P.A.

                                     /s/ John D. Hendershot__________________
                                     John D. Hendershot (#4178)
                                     One Rodney Square
                                     920 North King Street
                                     Wilmington, DE 19801
                                     Telephone: (302) 651-7700
                                     Email: hendershot@rlf.com

                                     Counsel for Nominal Defendants Occidental
                                     Petroleum Corporation and Anadarko
                                     Petroleum Corporation

                                     CRAVATH, SWAINE & MOORE LLP
                                     Daniel Slifkin (pro hac vice)
                                     Benjamin Gruenstein (pro hac vice)
                                     Worldwide Plaza
                                     825 Eighth Avenue
                                     New York, NY 10019
                                     Tel: (212) 474-1000
                                     Fax: (212) 474-3700

                                     Counsel for Nominal Defendants Occidental
                                     Petroleum Corporation and Anadarko
                                     Petroleum Corporation




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                      Exhibit A
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                          THE BROWN LAW FIRM, P.C.
                                BIOGRAPHY
        The Brown Law Firm, P.C. is a complex business litigation firm located in Oyster Bay, in

Long Island, New York. The firm specializes in shareholder derivative litigation in courts

throughout the country.

TIMOTHY BROWN – MANAGING ATTORNEY

        In January 2014, Mr. Brown founded the Brown Law Firm, which specializes in

shareholder derivative litigation.   Since the Brown Law Firm’s inception, the number of

shareholder derivative actions that the firm prosecutes has grown exponentially. Every year

since then, the Brown Law Firm has achieved and achieves favorable settlements in numerous

shareholder derivative actions, providing substantial benefits to publicly traded companies and

their investors.

        Since shortly after Mr. Brown graduated from law school, through 2013, Mr. Brown was

a litigator at a major national law firm. Mr. Brown’s prior firm specializes in representing

plaintiffs in securities class actions and shareholder derivative actions in courts throughout the

country. There, Mr. Brown had a leadership role in achieving numerous multi-million dollar

settlements of class action suits.

        In 2004, Mr. Brown graduated from the University of Chicago Law School at which he

was a recipient of a merit scholarship awarded to the top two percent of all applicants. Mr.

Brown received his B.A. in Business Economics, magna cum laude, from Brown University in

2001.

        Mr. Brown is admitted to the bar of the State of New York and admitted to practice in the

U.S. District Court for the Southern District of New York, the U.S. District Court for the Eastern

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District of New York, and the U.S. District Court for the Western District of New York.

ANDREW REYNARD – COUNSEL

       Mr. Reynard is Counsel at the Brown Law Firm; he joined the firm in May 2020. Prior to

joining the firm, Mr. Reynard was Special Counsel at the law firm of Sullivan & Cromwell, LLP

where he practiced for almost 13 years. Mr. Reynard’s practice at Sullivan & Cromwell focused

on a broad range of complex commercial litigation matters in both federal and state court,

including representation of institutions and individuals facing shareholder derivative and

securities class actions and representation of companies bringing patent, copyright infringement

and breach-of-contract claims. He has also represented clients in antitrust matters, as well as

regulatory and white-collar investigations and enforcement proceedings before the Securities and

Exchange Commission, the Federal Trade Commission, FINRA, the Department of Justice and

the New York Attorney General.

       Mr. Reynard’s clients have included a number of financial institutions, as well as top-tier

companies in other industries and individuals in both civil and criminal proceedings. Mr.

Reynard has also represented the City of New York through the City’s Public Service Program in

both depositions and at trial, as well as autistic children in proceedings before the New York

Department of Education.

       Mr. Reynard graduated from the New York University School of Law in 2005, and from

the University of Pennsylvania in 2002, where he received his B.A., cum laude, with distinction

in International Relations. For a year after law school, Mr. Reynard clerked for the Honorable

Emily C. Hewitt of the U.S. Court of Federal Claims in Washington, DC.

       Mr. Reynard is admitted to the bar of the State of New York and admitted to practice in

the U.S. District Court for the Southern District of New York; the U.S. District Court for the

Eastern District of New York; the U.S. Court of Federal Claims; the U.S. District Court for the
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Eastern District of Michigan; the U.S. Court of Appeals for the Second Circuit; the U.S. Court of

Appeals for the Ninth Circuit; the U.S. Court of Appeals for the Sixth Circuit; and the U.S. Court

of the Appeals for the Fifth Circuit.

SAADIA J. HASHMI – ASSOCIATE

       Ms. Hashmi received her J.D. from The University of Texas at Austin School of Law in

May 2018. Ms. Hashmi was a staff editor on the TEXAS JOURNAL ON CIVIL LIBERTIES &

CIVIL RIGHTS. Ms. Hashmi received her B.A. in American Studies, magna cum laude, from

the University of Texas at Dallas.

       Ms. Hashmi is admitted to the bar of the State of New York and admitted to practice in

the U.S. District Court for the Southern District of New York.

GARION T. LIBERTI – LAW CLERK

       Mr. Liberti received his J.D. from Cornell Law School in May 2019. He was an associate

on Cornell’s LII Supreme Court Bulletin. Garion received Bachelor of Arts degrees in Political

Science and Philosophy, summa cum laude, from the University of Central Florida in 2016.

       Mr. Liberti’s admission to the New York Bar is pending.

ROBERT C. MOEST – OF COUNSEL

       Mr. Moest’s office is in Santa Monica, California. Until 1999, and for more than two

decades, Mr. Moest was a partner at Fleishman, Fisher & Moest, a litigation firm in Los Angeles.

Robert’s partner Stanley Fleishman was revered for being a pioneer in the field of constitutional

rights and for winning countless 1st Amendment and civil rights lawsuits, including about a

dozen victories before the U.S. Supreme Court.

       Mr. Moest maintains a civil trial, writ and appellate litigation practice, emphasizing 1st

Amendment, constitutional and other civil rights, shareholder actions, commercial and real estate

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litigation, health care, administrative law and licensing, and land use. His practice is divided

between federal and state practice. Mr. Moest has been counsel in more than 100 appeals,

leading to more than forty reported decisions. Mr. Moest has jury and court trial experience in

courts throughout the United States.

       Mr. Moest was a founding member of the California Academy of Attorneys for Health

Care Professionals, Co-counsel on Los Angeles County Jail Over-detention Team (successful

class action suits seeking injunctive relief and damages against systematic over-detention of

inmates in Los Angeles County Jail); and was a member of the Board of Directors, Higher

Education Research Institute (since incorporated into UCLA School of Higher Education).

       Mr. Moest graduated from the UCLA School of Law in 1974, in the top ten percent of his

class. He earned his undergraduate degree from Amherst College.

       Mr. Moest is a member of the California bar, and the bars for the Central, Southern,

Northern and Eastern federal districts in California, the United States Court of Appeals for the

Second, Third, Ninth, and Tenth Federal Circuits, and the United States Supreme Court.




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                      Exhibit B
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                                THE ROSEN LAW FIRM P.A.
                                      BIOGRAPHY

I.     ATTORNEYS

LAURENCE ROSEN - MANAGING PARTNER

       Laurence Rosen is a 1988 graduate of New York University School of Law. He earned

an M.B.A. in finance and accounting at the University of Chicago Graduate School of Business

and a B.A. in Economics from Emory University. Mr. Rosen served as a law clerk to the

Honorable Stanley S. Brotman, Senior United States District Judge for the District of New

Jersey. Mr. Rosen entered private practice as an associate at the law firm of Skadden Arps Slate

Meagher & Flom in New York City where he participated in a number of complex securities

class action and derivative litigation matters. He later served as an associate at McCarter &

English in Newark, New Jersey where he specialized in securities and business litigation.

       After practicing general securities and commercial litigation in New York City with

Solton Rosen & Balakhovsky LLP, Mr. Rosen founded The Rosen Law Firm to represent

investors exclusively in securities class actions and derivative litigation. Mr. Rosen is admitted

to practice law in New York, California, Florida, New Jersey and the District of Columbia. Mr.

Rosen is also admitted to practice before numerous United States District Courts throughout the

country and the United States Court of Appeals for the Second, Fourth, and Sixth Circuits.

PHILLIP KIM – PARTNER

       Mr. Kim graduated from Villanova University School of Law in 2002. He received a

B.A. in Economics from The Johns Hopkins University in Baltimore, Maryland in 1999. Prior to

joining The Rosen Law Firm, Mr. Kim served as Assistant Corporation Counsel for the City of

New York in the Special Federal Litigation Division. In that position, Mr. Kim defended a

number of class action lawsuits, litigated numerous individual actions, and participated in more

ROSEN LAW FIRM BIOGRAPHY                         1
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than seven trials. Mr. Kim focuses his practice on securities class actions and shareholder

derivative litigation. Mr. Kim is admitted to the bar of the State of New York and admitted to

practice in the United States District Courts for the Southern District of New York, the Eastern

District of New York, the Northern District of New York, and the District of Colorado, and the

United States Court of Appeals for the Second Circuit.

JACOB A. GOLDBERG – PARTNER

       Mr. Goldberg is a 1988 graduate of Columbia University. Mr. Goldberg received his

J.D., cum laude, from the Temple University School of Law in 1992. For over 23 years, Mr.

Goldberg has litigated complex cases at the highest levels, championing the rights of investors,

employees and consumers. Mr. Goldberg has recovered over $200 million for investors in

securities class actions. In addition to serving in leadership roles in securities class actions, Mr.

Goldberg has litigated many cases under state corporations laws, against faithless boards of

directors both on behalf of shareholders, in the mergers and acquisitions context, and,

derivatively, on behalf of corporations, to remedy harm to the corporation itself. Mr. Goldberg is

admitted to practice law in the Commonwealth of Pennsylvania, New York, the United States

Supreme Court, the United States Court of Appeals for the Second, Third, Fourth and Sixth

Circuits, and various United States District Courts across the country.

JONATHAN A. SAIDEL – PARTNER

       Mr. Saidel has had a long and distinguished career in Pennsylvania politics, as well as in

the roles of attorney, accountant and author. He served as Philadelphia city controller for four

consecutive terms, each time earning reelection by a wide margin, and enacting financial reforms

that have saved taxpayers upwards of $500 million. Later, in 2010 he went on to campaign for

lieutenant governor of Pennsylvania, where he was runner-up to Scott Conklin by only a few

thousand votes out of almost 1 million cast. A Lifelong resident of Northeast Philadelphia, Mr.

ROSEN LAW FIRM BIOGRAPHY                          2
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Saidel’s tireless dedication to fiscal discipline reduced the city's tax burden and spurred

economic development. Mr. Saidel also pushed for important business tax incentives and

expanded minority and small business lending, all of which have revitalized the city, helping it

prosper and come back from the brink of bankruptcy in the early 1990's to become one of the

most vibrant cities on the East Coast.

       Mr. Saidel’s book, "Philadelphia: A New Urban Direction", is widely considered an

essential guide for effective government and corporate governance and is required reading at

many colleges and universities.

       Mr. Saidel received his JD from the Widener University of Law and is a graduate of

Temple University. He is also an adjunct lecturer at the University of Pennsylvania Fels Institute

of Government, and Drexel University's MBA Program. In addition to being a Certified Public

Account, Jonathan is a recipient of the National Association of Local Government Auditor's

Knighton Award, the President's Council on Integrity and Efficiency Award for Excellence,

multiple special project awards from the National Association of Local Government Auditors,

and the "Controller of the Year" award, a peer recognition presented by the Pennsylvania City

Controllers Association.

SARA FUKS – COUNSEL

       Ms. Fuks graduated from Fordham University School of Law, cum laude, in February

2005, where she was a member of Fordham Law Review. She received her B.A. in Political

Science, magna cum laude, from New York University in 2001. Ms. Fuks began her practice at

Dewey Ballantine, LLP where she focused on general commercial litigation and then went on to

prosecute numerous ERISA and securities class actions as an associate at Milberg LLP. Ms.

Fuks is admitted to the bar of the State of New York and admitted to practice in the United States

Southern and Eastern District Courts of New York.

ROSEN LAW FIRM BIOGRAPHY                        3
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JONATHAN HORNE- COUNSEL

       Mr. Horne is a 2009 graduate of New York University School of Law, where he received

the Lederman/Milbank Law, Economics, and Business fellowship, and holds a B.A. in

Economics & Philosophy from the University of Toronto. Mr. Horne began his practice at Kaye

Scholer LLP. Mr. Horne specializes in securities litigation. He is admitted to practice in New

York and the United States District Courts for the District of Colorado and the Southern and

Eastern Districts of New York. Mr. Horne was named a Super Lawyer – Rising Star for the New

York Metro Area.

BRIAN ALEXANDER – ATTORNEY

       Mr. Alexander graduated from Harvard Law School, cum laude, in 2008. He received a

B.A. from Cornell University, magna cum laude, in 2003. Prior to joining the Rosen Law Firm,

Mr. Alexander practiced complex commercial litigation at Boies Schiller Flexner LLP and other

prominent law firms in New York. He also served as a law clerk to the Honorable Raymond J.

Dearie of the United States District Court for the Eastern District of New York. He is admitted

to practice in New York and in the United States District Courts for the Eastern and Southern

Districts of New York.

JOSHUA BAKER – ATTORNEY

       Mr. Baker graduated from the New York University School of Law in 2013. He received

a B.A. from the University of Maryland in 2009. Prior to joining the Rosen Law Firm, Mr.

Baker practiced complex commercial litigation for a New York firm. He is admitted to practice

in New York, Massachusetts, and United States District Courts for the Eastern and Southern

Districts of New York.




ROSEN LAW FIRM BIOGRAPHY                        4
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JING CHEN - ATTORNEY

       Ms. Chen received a Juris Doctor degree from Pace University School of Law in 2011,

Juris Master degree from China University of Political Science and Law in Beijing, China and

B.A. in English Literature and Linguistics from Shandong University in Jinan, China. She is

admitted to practice in New York, New Jersey and China. Prior to joining The Rosen Law Firm,

Ms. Chen practiced corporate law, commercial transactions and arbitration for over two years.

GONEN HAKLAY – ATTORNEY

       Mr. Haklay graduated from Stanford University School of Law in 1995. He received a

B.A. in Political Science from The University of Massachusetts at Amherst in 1992. After

several years as an associate at a large Philadelphia law firm, Mr. Haklay joined the Philadelphia

District Attorney’s office. As a prosecutor, he tried over 100 criminal jury cases and handled

both capital and non-capital homicide cases. After 12 years as prosecutor, Mr. Haklay joined a

prominent plaintiffs’ firm where he tried over ten asbestos cases, recovering millions of dollars

for his clients. As a young man, Mr. Haklay served as an infantryman in the Israel Defense

Forces. Mr. Haklay is admitted to the bars of the Commonwealth of Pennsylvania, the State of

New Jersey, the United States District Court for the Eastern District of Pennsylvania, and the

United States Third Circuit Court of Appeals.

DANIEL TYRE-KARP – ATTORNEY

       Prior to joining The Rosen Law Firm in May 2018, Mr. Tyre-Karp was a senior associate

in the securities litigation and corporate governance group at Weil, Gotshal & Manges, where he

advised corporate and individual clients on a variety of high-stakes regulatory and litigation

matters in state and federal courts. Mr. Tyre-Karp’s extensive experience includes working on

several of the largest recent shareholder class action litigations (In re American International

Group, Inc. 2008 Securities Litigation, Docket No. 08-CV-4772 (S.D.N.Y.) and related opt-out

ROSEN LAW FIRM BIOGRAPHY                         5
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actions; In re El Paso Corporation Shareholder Litigation, Docket No. 6949 (Del. Ch.)),

participating in complex business and bankruptcy litigations (In re Lehman Brothers Holdings,

Inc., et al, Docket No. 1:08-bk-13555 (Bankr. S.D.N.Y.), and advising numerous clients facing

FINRA and SEC investigations. Mr. Tyre-Karp graduated with honors from Wesleyan

University in 2003 and received his J.D. from New York University School of Law in 2009,

where he served as Senior Notes Editor of the Journal of Legislation and Public Policy. He is

admitted to practice in New York and the United States District Courts for the Southern and

Eastern Districts of New York

HA SUNG (SCOTT) KIM – ATTORNEY

       Mr. Kim graduated from Columbia Law School in 2017. Mr, Kim received his B.A. in

Political Science and Economics, magna cum laude, from Wheaton College in Massachusetts in

2013. Mr. Kim joined the Rosen Law Firm in January 2020. Mr. Kim is admitted to practice in

the State of New York.

BRENT LAPOINTE – ATTORNEY

       Mr. LaPointe received his J.D., cum laude, from the University of Michigan Law School

in 2010, where he served as an Articles Editor on both the Michigan Journal of Law Reform and

the Michigan Journal of Gender & Law. Mr. LaPointe received a B.B.A. in Accounting &

Information Systems and Political Science, cum laude, from the University of Massachusetts-

Amherst in 2006. Mr. LaPointe focuses his practice on securities litigation.

LEAH HEIFETZ-LI - ATTORNEY

       Ms. Heifetz-Li is a 2009 graduate of Columbia Law School, and received a B.A. from the

University of Pennsylvania. Ms. Heifetz-Li served as a Law Clerk to the Honorable Cynthia S.

Kern, New York State Supreme Court, New York County. She has extensive experience in class

action litigation, having previously practiced at a large class action firm representing

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shareholders in merger and acquisition litigation as well as shareholder derivative actions. Ms.

Heifetz-Li has worked on case teams that secured significant financial recoveries for

stockholders as well as corporate governance reforms in the Delaware Court of Chancery and

other courts throughout the country.

STEPHEN SHEPARDSON – ATTORNEY

       Mr. Shepardson received his J.D. from New York University School of Law in 2015 and

a B.S. in Financial Math and B.A. in Philosophy from the University of California, Santa

Barbera in 2010. Mr. Shepardson joined The Rosen Law Firm in August 2018 and focuses his

practice on securities litigation. Mr. Shepardson was previously an associate at a complex

litigation boutique. He is admitted to practice in the State of New York.

YU SHI – ATTORNEY

       Mr. Shi received his J.D. from Columbia Law School in 2011 and his B.A., cum laude,

from Columbia University in 2008. He has been selected to Super Lawyers New York Metro

Rising Stars list each year since 2018. Mr. Shi began his career as a Special Assistant

Corporation Counsel in the New York City Law Department’s Economic Development Division.

Mr. Shi joined The Rosen Law Firm in 2012 and focuses his practice on securities litigation. He

is admitted to practice in the State of New York and the United States District Courts for the

Eastern and Southern Districts of New York.

JONATHAN STERN – ATTORNEY

       Mr. Stern graduated from New York University School of Law in May of 2008, where he

was a Development Editor of the Annual Survey of American Law. He received his B.A. in

Philosophy with Honors from McGill University. Mr. Stern began his practice in the litigation

department of Simpson Thacher & Bartlett LLP, and then went on to practice at the litigation

boutique of Simon & Partners LLP, where he participated in a Federal trial. Mr. Stern is

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admitted to the bar of the State of New York and admitted to practice in the United States

Southern and Eastern District Courts of New York.




ERICA STONE- ATTORNEY

        Ms. Stone graduated from the Benjamin N. Cardozo School of Law in 2013. She received

her B.A. in Political Science and Communications, cum laude, from the University of

Pennsylvania in 2009. She is admitted to practice in New York, New Jersey, and the United

States District Courts for the Southern District of New York and the District of New Jersey.

RYAN HEDRICK –LAW CLERK

        Mr. Hedrick received his J.D. from the University of Chicago in 2019. He received his

B.A. in Linguistics and Political Science, summa cum laude, from The Ohio State University in

2015. Mr. Hedrick joined the Rosen Law Firm in August 2019.

II.     RECENT ACCOMPLISHMENTS OF THE ROSEN LAW FIRM PA

        Christine Asia Co Ltd. v. Alibaba Group Holding Ltd., No. 15-md-2631 (CM) (SDA).

The Rosen Law Firm was sole Class Counsel in this multidistrict certified class action in U.S.

District Court for the Southern District of New York. The complaint alleged violations of §§10b

and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially

false and misleading business information. The parties settled this action for $250 million in

cash.

        Pirnik v. Fiat Chrysler Automobiles, N.V., 15-CV-7199 (JMF). The Rosen Law Firm

was co-Class Counsel in this class action in the U.S. District Court for the Southern District of

New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act




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arising out of the Company’s issuance of materially false and misleading statements about its

true business condition. The parties settled this action for $110 million in cash.

       Hayes v. Magnachip Semiconductor Corp., No. 12-CV-1160-JST. The Rosen Law Firm

was co-Class Counsel in this certified class action in the U.S. District Court for Northern District

of California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of false financial statements. The parties settled this

action for $29.7 million.

       Menaldi v. Och-Ziff Capital Management Group LLC, No. 14-CV-3251 (JPO). The

Rosen Law Firm was co-Class Counsel in this certified class action in the U.S. District Court for

Southern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. The parties settled this action for $28.75 million in cash.

       Beck v. Walter Investment Management, No. 14-cv-20880-UU. The Rosen Law Firm

was co-Lead Counsel in this consolidated class action in the U.S. District Court for Southern

District of Florida. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company concealing its true financial condition. The parties

settled the action for $24 million in cash.

       Deering v. Galena Biopharma, Inc., No. 3:14-cv-00367-SI. The Rosen Law Firm was co-

Lead Counsel in this class action in the U.S. District Court for District of Oregon. The complaint

alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the Company

concealing an undisclosed stock promotion scheme. The parties have agreed to settle the action

for $20.165 million in cash.

       Turocy v. El Pollo Loco Holdings, Inc., No. CV-15-1343-DOC. The Rosen Law Firm

was co-Class Counsel in this certified class action in the U.S. District Court for the Central

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District of California. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. The settled the action for $20 million in cash.

       Yang v. Tibet Pharmaceuticals, Inc., No. 14-cv-3538. The Rosen Law Firm was sole

Lead Counsel in this consolidated class action in the U.S. District Court for the District of New

Jersey. The complaint alleged violations of the Securities Act of 1933 in connection with

material misrepresentations in the Company’s Registration Statement and Prospectus. Plaintiffs

and the underwriters have agreed to settle their claims for $14 million proof of claim in

bankruptcy court. Plaintiffs have also agreed to a $2.075 million settlement with Tibet’s auditor.

       In re Silvercorp Metals, Inc. Securities Litigation, No. 12-CV-9456 (JSR). The Rosen

Law Firm was counsel to lead plaintiff in this consolidated class action in the U.S. District Court

for Southern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial information. The parties agreed to settle this action for $14 million in cash.

       Hellum v. Prosper Marketplace, Inc., No. CGC-08-482329. The Rosen Law Firm was

class counsel in this certified class action in California Superior Court, San Francisco County

alleging violations of the Securities Act of 1933 and the California Corporations Code in

connection with defendants’ offer and sale of unregistered securities. Plaintiffs settled this action

for $10 million in cash.

       In re Textainer Financial Servs. Corp., No. CGC 05-440303. The Rosen Law Firm was

Co-Lead Counsel in this class action in the California Superior Court, San Francisco County

alleging breach of fiduciary duty in connection with the sale of the assets of six related publicly

traded limited partnerships. After winning the first phase of a multi-phase bench trial, Plaintiffs

obtained a $10 million cash settlement for class members.

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        Friedman v. Quest Energy Partners LP, et al., No. CIV-08-936-M. The Rosen Law Firm

was sole Lead Counsel on behalf of purchasers of Quest Resource Corporation’s securities in this

consolidated class action filed in the U.S. District Court for the Western District of Oklahoma.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading statements in connection with the

Company’s former CEO and CFO misappropriating nearly $10 million. All classes and parties

to this litigation settled this action for $10.1 million in cash.

        Parmelee v. Santander Consumer USA Holdings Inc., No. 3:16-cv-783-K. The Rosen

Law Firm was co-Lead Counsel in this class action in the U.S. District Court for the Northern

District of Texas. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. The parties agreed to settle this case for $9.5 million in cash.

        Meyer v. Concordia International Corp., No. 16-cv-6467 (RMB). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

New York. The complaint alleged violations of the Securities Exchange Act of 1934 in

connection with the Company’s issuance of materially false and misleading business

information. The parties agreed to settle this case for $9.25 million in cash.

        In re Puda Coal Securities Litigation, No. 11-CV-2598 (DLC) (Partial Settlement). The

Rosen Law Firm is currently serving as co-Lead Counsel in this consolidated class action

pending in the U.S. District Court for the Southern District of New York. The complaint alleges

violations of the Exchange Act and Securities Act arising out of the Company’s issuance of

materially false and misleading financial statements. The parties agreed to settle Plaintiffs’

claims against the underwriters and certain other defendants for $8.7 million. The case continues

against other defendants.

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       Hufnagle v. RINO International Corporation, No. CV 10-8695-VBF (VBKx). The Rosen

Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for

the Central District of California. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements of revenue and earnings. The parties settled this action against the

company and its auditor for a total of $8,685,000 in cash.

       In re Montage Technology Group Limited Securities Litigation, No. 3:2014-cv-0722 (SI).

The Rosen Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District

Court for the Northern District of California. The complaint alleged violations of §§ 10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of false statements

relating to certain undisclosed related party transactions and the Company’s revenue. The parties

agreed to settle this action for $7.25 million in cash.

       Blitz v. AgFeed Industries, No. 3:11-0992. The Rosen Law Firm was co-Lead Counsel

in this consolidated class action in the U.S. District Court for the Middle District of Tennessee.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial information. The parties

agreed to settle this action for $7 million in cash.

       Cole v. Duoyuan Printing, Inc., No. 10-CV-7325(GBD). The Rosen Law Firm was Co-

Lead Counsel in this class action in the U.S. District Court for the Southern District of New

York. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of the Securities Act of 1933

and §§10b and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of

materially false and misleading statements about the Company’s true financial condition and

adequacy of the Company’s internal controls. Plaintiffs and the issuer defendants agreed to a

partial settlement of $4.3 million cash payment to class members. Plaintiffs and the underwriters

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agreed to a separate $1,893,750 cash payment to class members. The total settlement was

$6,193,750 in cash.

       In re Nature’s Sunshine Products, Inc. Securities Litigation, No. 2:06-cv-00267-TS-SA.

The Rosen Law Firm was sole Lead Class Counsel in this class action in the U.S. District Court

for the District of Utah. The complaint alleged violations of §§ 10b and 20(a) of the Securities

Exchange Act arising out of the Company’s materially false and misleading statements

concerning its financial statements and business practices. Following the certification of the

class and extensive discovery, Plaintiffs agreed to settle this case for $6 million in cash.

       Carmack v. Amaya, Inc., No. 16-cv-1884-JHR-JS. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for the District of New Jersey. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading business information. The parties settled

this action for $5.75 million in cash.

       Miller v. Global Geophysical Services, No. 14-CV-708. The Rosen Law Firm was Lead

Counsel in this consolidated class action in the U.S. District Court for Southern of Texas. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act and Sections 11

and 15 of the Securities Act arising out a financial restatement. The parties settled this case for

$5.3 million in cash.

       Bensley v. FalconStor Software, Inc., No. 10-CV-4672 (ERK) (CLP). The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Eastern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements about the Company’s true financial and business condition. The parties

agreed to settle this action for $5 million in cash.

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        Delorosa v. State Street, 17-cv-11155-NMG. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for District of Massachusetts. The

complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading business information. The parties agreed

to settle this action for $4.9 million in cash.

        Berry v. KIOR, Inc., No. 13-CV-2443. The Rosen Law Firm was co-Lead Counsel in

this class action in the U.S. District Court for the Southern District of Texas. The complaint

alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading financial statements. The parties settled

this action for $4.5 million in cash.

        In re Entropin, Inc. Securities Litigation, Case No. CV 04-6180-RC. The Rosen Law

Firm was counsel to Plaintiff in this securities class action in the United States District Court for

the Central District of California, and Lead Counsel in the related class action brought in

California state court against Entropin, Inc., a defunct pharmaceutical company. These actions

alleged violations of §§ 10b and 20(a) of the Securities Exchange Act and violations various

state securities laws arising out of allegedly false and misleading statements about the

Company’s lead drug candidate Esterom, respectively. On the eve of trial, Defendants agreed to

settle these cases for a $4.5 million cash payment to class members.

        Fitzpatrick v. Uni-Pixel, Inc., No. 13-CV-01649. The Rosen Law Firm was co-Lead

Counsel in this class action pending in the U.S. District Court for the Southern District of Texas.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company concealing its true financial condition. The parties settled this action for $4.5

million consisting of $2.35 million in cash and $2.15 million in stock.




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       Munoz v. China Expert Technology, Inc., Case No. 07-CV-10531 (AKH). The Rosen

Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the Southern

District of New York. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of: (a) the Company’s issuance of materially false statements of

revenues and earnings; and (b) the Company’s auditors’ issuance of materially false and

misleading “clean” audit opinions. The parties settled this action for $4.2 million cash payment

to class members.

       In re IDreamSky Technology Limited Securities Litigation, No. 15-cv-2514 (JPO). The

Rosen Law Firm was co-Lead Counsel in this consolidated class action in the U.S. District Court

for the Southern District of New York. The complaint alleges violations of §§10b and 20(a) of

the Securities Exchange Act §§ 11 and 20(a) of the Securities Act and arising out of the issuance

of misleading business information. The parties settled this case for $4.15 million in cash.

       Snellink v. Universal Travel Group, Inc., Case No.11-CV-2164. The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the District of New

Jersey. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising the issuance of false statements concerning the Company’s true financial condition. The

parties settled this action for $4.075 million.

       Stanger v. China Electric Motor, Inc., Case no. CV 11-2794-R (AGRx). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Central District

of California. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of the Securities Act

of 1933 in connection with the Company’s $22.5 million initial public offering. The parties

settled this action for $3,778,333.33 in cash.

       In re IsoRay, Inc. Securities Litigation, No. 15-cv-5046-LRD. The Rosen Law Firm was

co-Lead Counsel in this consolidated class action in the U.S. District Court for Eastern District

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of Washington. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company misstating certain study results relating to the Company’s

products. The parties settled this action for $3,537,500 in cash.

       Rose v. Deer Consumer Products, Inc., No. CV11-3701 –DMG (MRWx). The Rosen

Law Firm was sole Lead Counsel in this class action pending in the U.S. District Court for the

Central District of California. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising from the issuance of false statements concerning the Company’s

true financial condition. Plaintiffs settled their claims against Deer and its auditor through two

settlements totaling $3.55 million in cash.

       In re L&L Energy, Inc. Securities Litigation, No. 13-CV-6704 (RA). The Rosen Law

Firm was co-Lead Counsel in this class action in the U.S. District Court for the Southern District

of New York. The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of false financial statements. The parties settled this

action for $3.5 million in cash.

       Sood v. Catalyst Pharmaceutical Partners, Inc., No. 13-CV-23878-UU. The Rosen Law

Firm was sole lead counsel in this class action filed in the U.S. District Court for the Southern

District of Florida. The complaint alleged that the Company failed to disclose material facts

about its primary drug candidate. The parties settled this action for $3.5 million in cash.

       Cheung v. Keyuan Petrochemicals, Inc., No. 13-cv-6057 (PAC). The Rosen Law firm

was sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

New York. The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act

of 1934 in connection with the Company’s failure to disclose material related party transactions

in periodic reports it filed with the SEC. The parties settled this action for $2.65 million in cash.

Separately, in the related case Omanoff v. Patrizio & Zhao LLC, No. 2:14-cv-723-FSH-JBC, The

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Rosen Law Firm was sole lead counsel in this class action in the U.S. District Court for the

District of New Jersey. The complaint alleged that Patrizio & Zhao, LLC, as auditor for Keyuan

Petrochemicals, Inc., issued materially false and misleading audit opinions. The parties have

settled this action for $850,000 in cash. The total recovery for Keyuan investors was $3.5

million.

       In re StockerYale, Inc. Securities Litigation, Case No. 1:05-cv-00177. The Rosen Law

Firm served as sole Lead Counsel in this consolidated class action in the U.S. District Court for

the District of New Hampshire. The complaint alleged violations of §§ 10b, 20(a) and 20A of

the Securities Exchange Act arising out of the issuance of allegedly false and misleading press

releases regarding certain contracts the Company claimed to have signed. Plaintiffs settled this

class action for $3.4 million cash payment to class members.

       Mallozzi v. Industrial Enterprises of America, Inc., Case No. 07-CV-10321 (GBD). The

Rosen Law Firm was Co-Lead Counsel in this class action in the U.S. District Court for the

Southern District of New York. The complaint alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements of revenues and earnings. During the pendency of the Company’s

bankruptcy, the parties settled this class action for $3.4 million in cash.

       Napoli v. Ampio Pharmaceuticals, Inc., CV-3474-TJH. The Rosen Law Firm was sole

Lead Counsel in this class action in the U.S. District Court for the Central District of California.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false statements regarding the clinical testing of one its

products. The parties settled this action for $3.4 million in cash.

       Kelsey v. Textura Corporation, No. 14 C 7837. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for Northern District of Illinois. The

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complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

allegations that the Company misstated its true financial condition. The parties settled this action

for $3.3 million in cash.

        Ding v. Roka Bioscience, Inc., No. 14-8020 (FLW). The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for District of New Jersey. The complaint

alleges violations of §§11 and 15 of the Securities Act arising out of the Company’s issuance of

materially false and misleading business information. The parties agreed to settle this case for

$3.275 million in cash.

        Meruelo Capital Partners 2, LLC et al. v. Wedbush Morgan Securities, Inc., Case no. BC

352498. The Rosen Law Firm was co-counsel to plaintiffs in this action brought in California

Superior Court, Los Angeles County for violations of the California State securities laws against

the securities issuer and broker-dealer in connection with the sale of $2.5 million worth of

securities. On the eve of trial, plaintiffs settled the claims against the issuer for a cash payment

of $1 million. Following an eight day jury trial, Plaintiffs obtained a jury verdict in their favor

and against the underwriter for over $2.2 million (which included prejudgment interest). In sum,

plaintiffs recovered over $3.2 million, which represented 100% of plaintiffs’ principal

investment of $2.5 million and over $700,000 in prejudgment interest. The verdict was affirmed

by the California 2nd District Court of Appeal.

        Ray v. TierOne Corporation, Case No. 10CV199. The Rosen Law Firm was sole Lead

Counsel in this class action brought in the U.S. District Court for the District of Nebraska. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading statements of earnings and the

Company’s banking operations and business. The parties settled this action for $3.1 million in

cash.

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        Van Wingerden v. Cadiz, Inc., No. CV-15-3080-JAK-JEM. The Rosen Law Firm was

co-Lead Counsel in this class action in the U.S. District Court for Central District of California.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial statements. The parties

settled this action for $3 million in cash.

        Pham v. China Finance Online Co. Limited, No. CV 15-CV-7894 (RMB). The Rosen

Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for

Southern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial statements. The parties settled this action for $3 million in cash.

        In re Skilled Healthcare Group, Inc. Securities Litigation, Case No. 2:09-CV-5416-DOC

(RZx). The Rosen Law Firm was Co-Lead Counsel in this class action in the U.S. District Court

for the Central District of California. The complaint alleged violations of the §§ 11, 12(a)(2),

and 15 of the Securities Act of 1933 and §§10b and 20(a) of the Securities Exchange Act arising

out of the Company’s issuance of materially false and misleading statements of revenue and

earnings. Plaintiffs settled this action for $3 million in cash.

        Abrams v. MiMedx Group, Inc., No. 1:13-cv-03074-TWT. The Rosen Law Firm was

sole Lead Counsel in this consolidated class action in the U.S. District Court for the Northern

District of Georgia. The complaint alleged violations of §§ 10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of false statements relating the regulatory

compliance of its products. The parties settled this action for $2.979 million.

        Madden v. Pegasus Communications Corp, Case No. 2:05-cv-0568. The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Eastern District

of Pennsylvania. The action alleged violations of §§ 10b and 20(a) of the Securities Exchange

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Act arising out of the issuance of allegedly false and misleading statements concerning the

Company’s direct broadcast satellite agreement with DirecTV and the Company’s reported

subscriber growth and totals. Plaintiffs settled this action for a $2.95 million cash payment to

class members.

       Gauquie v. Albany Molecular Research, No. 14-CV-6637 (FB) (SMG). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Eastern District

of New York. The complaint alleged violation of §10b and 20(a) of the Securities Exchange Act

out of the Company’s misstatements about its true financial condition and prospects. The parties

settled this action for $2.868 million.

       In re Lihua International, Inc. Sec. Litig., No. 14-CV-5037 (RA). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

New York. The complaint alleged violations of the Securities Exchange Act of 1934 in

connection with the Company’s issuance of materially false and misleading financial statements.

The collective settlement of the class action and consolidated derivative actions are $2.865

million in cash.

       In re TVIA, Inc. Securities Litigation, Case No. C-06-06403-RMW. The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Northern District of California. The complaint alleged violations of §§ 10b, 20(a), 20A of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial statements by virtue of the Company improper recognition of revenues in

violation of GAAP. Plaintiffs settled this action for a $2.85 million cash payment to class

members.

       Vaccaro v. New Source Energy Partners LP, No. 15-CV-8954 (KMW). The Rosen Law

Firm was co-Lead Counsel in this class action in the U.S. District Court for Southern District of

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New York. The complaint alleged violations of §§11 and 15 of the Securities Act arising out of

the company’s issuance of materially false and misleading business information. The parties

settled this action for $2.85 million in cash.

        Zagami v. Natural Health Trends Corp., et al., Case No. 3:06-CV-1654-D. The Rosen

Law Firm served as sole Lead Counsel in this class action in the U.S. District Court for the

Northern District of Texas. The complaint alleged violations of § 10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading financial

statements in violation of GAAP. Plaintiffs settled this case for $2.75 million cash payment to

class members.

        In re Akari Therapeutics PLC Securities Litigation, No. 17-cv-3577 (KPF). The Rosen

Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the Southern

District of New York. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading

statements about the results of a clinical study. The parties settled this case for $2.7 million in

cash.

        Romero v. Growlife, Inc., Case No. 2:14-cv-03015-CAS (JEMx). The Rosen Law Firm

was sole Lead Counsel in this consolidated class action in the U.S. District Court for the Central

District of California. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising the issuance of false statements concerning the Company’s true financial

condition. The parties settled this action for total consideration of $2.7 million, comprised of

$700,000 in cash and $2 million in stock.

        Moleski v. Tangoe, Inc., No. 3:17-cv-00146. The Rosen Law Firm was co-Lead Counsel

in this class action in the U.S. District Court for the District of Connecticut. The complaint

alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

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Company’s issuance of materially false and misleading financial statements. The parties settled

this action for $2.55 million in cash.

       Hosey v. Twitter, Inc., No. 16-CIV-02228. The Rosen Law Firm was co-Lead Counsel

in this class action in the Superior Court of the State of California in San Mateo County. The

complaint alleged violations of §§11 of the Securities Act arising out of the Company’s issuance

of materially false and misleading business information. The parties settled this action for $2.5

million in cash.

       Nguyen v. Radient Pharmaceuticals Corporation, Case No. CV11-0405-DOC (MLGx).

The Rosen Law Firm was sole Lead Counsel in this class in the U.S. District Court for the

Central District of California. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the issuance of false statements concerning the

Company’s clinical trial involving its principal product. The parties agreed to settle this action

for $2.5 million in cash.

       In re Robert T. Harvey Securities Litigation, Case No. SA CV-04-0876 DOC (PJWx).

The Rosen Law Firm served as Co-Lead Counsel in this class action in the U.S. District Court

for the Central District of California and the related California state court class actions. This

action alleged violations of §§ 10b and 20(a) of the Securities Exchange Act arising out of the

sale of partnership interests that corresponded to the securities of Chaparral Network Storage and

AirPrime, Inc., n/.k/a Sierra Wireless, Inc. Plaintiffs settled this and the related state court

actions for an aggregate $2.485 million cash payment to class members.

       In re China Education Alliance, Inc. Securities Litigation, No. C 10-9239-CAS (JCx).

The Rosen Law Firm was sole Lead Counsel in this consolidated class in the U.S. District Court

for the Central District of California. The complaint alleges violations of §§10b and 20(a) of the




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Exchange Act arising out of the Company’s issuance of materially false and misleading

statements of revenue and earnings. The parties settled this action for $2.425 million in cash.

        In re Akers Biosciences, Inc. Sec. Litig., No. 18-cv-10521 (ES) (CLW). The Rosen Law

Firm is serving as sole lead counsel in this consolidated class action pending in U.S. District

Court for the District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information The parties agreed to settle this action for $2.25 million in cash,

pending court approval.

        Kubala v. SkyPeople Fruit Juice, No. 11-CV-2700 (PKC). The Rosen Law Firm was sole

Lead Counsel in this consolidated class action in the U.S. District Court for the Southern District

of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act out of the Company’s failure to disclose material related party transactions that rendered the

Company’s financial statements false. The parties agreed to settle this action for $2.2 million in

cash.

        Tapia-Matos v. Caesarstone Sdot-Yam Ltd., No. 15-CV-6726 (JMF). The Rosen Law

Firm was co-Lead Counsel in this class action in the U.S. District Court for Southern District of

New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading statements about the

Company’s true financial condition and business prospects. The parties agreed to settle this

action for $2.2 million in cash.

        In re Fuwei Films Securities Litigation, Case no. 07-CV-9416 (RJS). The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Southern District of New York. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of

the Securities Act of 1933 in connection with material misrepresentations in the Company’s

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Registration Statement and Prospectus in connection with the Company’s $35 million IPO. The

parties settled this action for $2.15 million cash payment to class members.

       Snellink v. Gulf Resources, Inc., No.CV11-3722-ODW (MRWx). The Rosen Law Firm

was co-Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act

arising out of the Company’s failure to disclose the related party nature of certain transactions,

and the Company’s issuance of false financial statements. The parties agreed to settle this action

for $2.125 million in cash.

       Crandall v. PTC Inc., No. 16-cv-10471-WGY. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for District of Massachusetts. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act and certain

violations of the Securities Act arising out of the Company’s issuance of materially false and

misleading statements about the Company’s true financial condition. The parties agreed to settle

this action for $2.1 million in cash.

       In re DS Healthcare Group, Inc. Sec. Litig., No. 16-60661-CIV-DIMITROULEAS. The

Rosen Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the

Southern District of Florida. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. The parties agreed to settle this action for $2.1 million in cash.

       Henning v. Orient Paper, Inc., No. CV 10-5887-VBF (AJWx). The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

and certain violations of the Securities Act arising out of the Company’s issuance of materially




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false and misleading statements about the Company’s true financial condition and business

prospects. The parties settled this action for $2 million in cash.

       Pena v. iBio, Inc., 14-CV-1343-RGA. The Rosen Law Firm was sole Lead Counsel in

this class action in the U.S. District Court for the District of Delaware. The complaint alleged

violations of §§10b and 20(a) of the Securities Exchange Act arising out misstatements and

omissions relating to the Company’s purported involvement with an Ebola treatment. The

parties settled this action for $1.875 million in cash.

       Campton v. Ignite Restaurant Group, Inc., No. 12-CV-2196. The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

Texas. The complaint alleged violations of the Securities Act of 1933 in connection with

material misrepresentations in the Company’s Registration Statement and Prospectus issued for

the company’s IPO. The parties settled this action for $1.8 million in cash.

       Petrie v. Electronic Game Card, Inc., No. SACV 10-0252-DOC (RNBx). The Rosen

Law Firm was sole Lead Counsel in this class action in the United States District Court for the

Central District of California. Following dismissal of the complaint by the district court, the

Rosen Firm obtained a reversal of the dismissal from U.S. Court of Appeals for the Ninth

Circuit. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading financial statements in

violation of Generally Accepted Accounting Principles and the Company’s publicly stated

internal policies. The parties settled this case for $1.755 million in cash.

       Ford v. Natural Health Trends Corp., No. 16-00255 TJH (AFM). The Rosen Law Firm

was co-Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act




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arising out of the company’s issuance of materially false and misleading business information.

The parties agreed to settle this action for $1.75 million in cash.

       Hayden v. Wang, et al., No. Civ. 518333. The Rosen Law Firm was sole lead counsel in

this class action in the California Superior Court of San Mateo County brought on behalf of

purchasers of Worldwide Energy & Manufacturing USA, Inc. common stock in two private

placements. The Complaint alleged that the offering documents were materially false. The

parties settled this action for $1,615,000 in cash.

       Burritt v. Nutracea, Inc., Case No.CV-09-00406-PHX-FJM. The Rosen Law Firm was

sole Lead Counsel in this consolidated class action in the U.S. District Court for the District of

Arizona. This action alleged violations of §§ 10b and 20(a) of the Securities Exchange Act of

1934 and the Arizona securities laws in connection with the Company’s issuance of materially

false and misleading statements of earnings and revenues. During the pendency of the

Company’s bankruptcy, Plaintiffs settled this action for $1.5 million in cash and a remainder

interest of 50% of the issuer’s directors’ and officers’ liability insurance policy.

       Press v. Delstaff LLC, No. MSC 09-01051. The Rosen Law Firm was sole Lead Counsel

in this class action in the California Superior Court for Contra Costa County, brought in

connection with a “going private” transaction valued at $1.25/share for the 6.4 million shares

implicated in the transaction. The parties settled this action for $1,642,500 in additional

compensation to shareholders.

       Shapiro v. Alliance MMA, Inc., No. 17-CV-2583 (RBK)(AMD). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the District of New

Jersey. The complaint alleged violations of §§11b and 15(a) of the Securities Act arising out of

the company’s issuance of materially false and misleading financial statements in connection




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with the company’s initial public offering. The parties settled this action for $1.55 million in

cash.

        In re Lightinthebox Holding Co., Ltd., 13-CV-6016 (PKC). The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for Southern District of New

York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company concealing its true financial condition. The parties agreed to settle

this action for $1.55 million in cash.

        Pankowski v. BlueNRGY Group Ltd, f/k/a CBD Energy Ltd., No. 4:15-cv-1668. The

Rosen Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the

Southern District of Texas. The complaint alleged violations Securities Act and Exchange Act

arising out of the Company’s issuance of materially false financial statements. The parties

agreed to settle this action for $1.5 million in cash.

        Guimetla v. Ambow Education Holding Ltd., No. CV-12-5062-PSG (AJWx). The Rosen

Law Firm was sole Lead Counsel in this class action filed in the U.S. District Court for the

Central District of California. The complaint alleged violations of the Securities Exchange Act

of 1934 in connection with the Company’s issuance of materially false and misleading financial

statements. The parties agreed to settle this action for $1.5 million.

        Lee v. Active Power, Inc., No. l:13-cv-00797. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for the Western District of Texas. The

complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act arising out of

the Company’s issuance of false statements relating to a purported distribution agreement with a

major information technology provider. The parties agreed to settle this action for $1.5 million.

        In re Northfield Laboratories, Inc. Securities Litigation, Case No. 06 C 1493. The Rosen

Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for

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the Northern District of Illinois. The complaint alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the Company’s materially false and misleading statements

concerning its PolyHeme blood substitute product and business prospects. Following extensive

class discovery and litigation activity in bankruptcy court, the parties agreed to settle this action

for $1.5 million in cash.

        In re PartsBase.com, Inc. Securities Litigation, Case No. 01-8319. The Rosen Law Firm

was Co-Lead Counsel in this class action in the U.S. District Court for the Southern District of

Florida. The action arose from a $45.5 million initial public offering of common stock by the

defendant issuer and a syndicate of underwriters including Roth Capital Partners and PMG

Capital Corp. Plaintiffs settled this action for $1.5 million in cash.

        Vandevelde v. China Natural Gas, Inc., No. 10-728-SLR. The Rosen Law Firm was sole

Lead Counsel in the class action pending in the U.S. District Court for the District of Delaware.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the issuance of materially false and misleading financial statements. Plaintiffs settled this

action for $1.5 million in cash.

        Simmons v. FAB Universal Corp., No. 13-CV-8216 (RWS). The Rosen Law Firm was

co-Lead Counsel in this consolidated class action in the U.S. District Court for Southern District

of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company concealing its true financial condition. The parties agreed to

settle this action for $1.5 million in cash.

        Springer v. Code Rebel Corp., No. 16-cv-3492 (AJN). The Rosen Law Firm was co-

Lead Counsel in this class action pending in the U.S. District Court for the Southern District of

New York and counsel in a related case in California Superior Court. The actions alleged




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violations of the Exchange Act and Securities Act violations, respectively. Following the

bankruptcy of the Company, the parties settled both actions for $1.415 million.

       In re Empyrean Bioscience Securities Litigation, Case No. 1:02CV1439. This class

action in which the Rosen Law Firm was sole Lead Counsel was filed in the U.S. District Court

for the Northern District of Ohio. The action alleged violations of §§10b and 20(a) of the

Securities Exchange Act based on misrepresentations in defendants’ SEC filings and press

releases concerning the clinical testing of the Company’s GEDA Plus microbicide gel. After the

court denied defendants’ motion to dismiss the complaint, the parties briefed the issue of whether

the securities were traded in an efficient market. Prior to a decision on market efficiency,

Plaintiffs settled the case for a $1.4 million payment to class members.

       Balon v. Agria, Inc., No. 16-8376 (SDW). The Rosen Law Firm was sole Lead Counsel

in this class action in the U.S. District Court for the District of New Jersey. The complaint

alleged violation of §10b and 20(a) of the Securities Exchange Act out of the Company’s

manipulation of its stock price. The parties settled this case for $1.3 million in cash.

       Desta v. Wins Financial Holdings, Inc., 17-cv-2983-CAS-AGR. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The parties have agreed to settle this case for $1.26 million in cash, pending Court

approval.

       Tran v. ERBA Diagnostics, Inc., No. 15-cv-24440. The Rosen Law Firm was co-Lead

Counsel in this class action on appeal with the U.S. Court of Appeals for the Eleventh Circuit.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial statements. While on

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appeal following the dismissal of the case, the parties settled the action for $1.215 million in

cash.

        Knox v. Yingli Green Energy Holding Co. Ltd., No. 2:15-cv-4003. The Rosen Law Firm

was sole Lead Counsel in this class action in the United States District Court for the Central

District of California. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false financial statements.

While on appeal following the dismissal of the case, the parties agreed to settle the action for

$1.2 million in cash.

        In re Himax Technologies, Inc. Securities Litigation, Case No. C 07-4891-DDP. The

Rosen Law Firm served as Co-Lead Counsel in this consolidated class action in the U.S. District

Court for the Central District of California, Western Division. The complaint alleged violations

of §§ 11 and 15 of the Securities Act arising out of the Company’s IPO. Plaintiffs agreed to

settle this case for $1.2 million cash payment to class members.

        In re Flight Safety Technologies, Inc. Securities Litigation, Case No. 3:04-cv-1175. The

Rosen Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District

Court for the District of Connecticut. The action alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the defendants alleged failure to disclose material adverse

information concerning the Company’s products under development and misrepresenting the

amount of time it would take to commercialize the products. Plaintiffs settled the case for a $1.2

million cash payment to class members.

        In re: M.H. Meyerson & Co. Securities Litigation, Case No. 02-CV-2724. This class

action, in which the Rosen Law Firm was sole Lead Counsel, was filed in U.S. District Court for

District of New Jersey. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act based on allegedly false and misleading SEC filings related to the planned launch

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of an online brokerage business, and other material misrepresentations, which allegedly inflated

the price of Meyerson stock during the class period. Plaintiffs settled the case for a $1.2 million

payment to class members.

        Perez v. Izea, Inc., No. 18-cv-2784-SVW-GJS. The Rosen Law Firm was Co-Lead

Counsel in this class action in the U.S. District Court for the Central District of California. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading financial information. The parties agreed

to settle this action for $1.2 million in cash.

        In re OPUS360 Corp. Securities Litigation, Case No. 01-Civ-2938. The Rosen Law Firm

was Co-Lead Counsel for this action brought in the Southern District of New York alleging

violations of the federal securities laws arising from a $75.0 million initial public offering of

common stock by the defendant issuer and a syndicate of underwriters including JP Morgan and

Robertson Stephens, Inc. The Court certified the action as a class action and approved a final

settlement.

        Ansell v. National Lampoon, Inc., Case No. CV10-9292-PA (AGRx). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Central District

of California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of a market manipulation scheme involving National Lampoon’s common stock.

The parties agreed to settle this action for $1 million in cash.

        Garcia v. Lentuo International, Inc., CV-15-1862-MWF (MRWx). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleged violations of the Exchange Act arising out of the Company’s

issuance of materially false and misleading financial statements. The parties settled this action

for $1 million in cash.

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       Fouladian v. Busybox.com, Inc., Case No. BC 248048. The Rosen Law Firm was Co-

Lead Counsel in this class action brought in California Superior Court, Los Angeles County.

The action arose from a $12.8 million initial public offering of securities by the defendant issuer

and underwriter. California and federal securities laws claims (Cal. Corp. Code §25401 and §11

of 1933 Act) were brought on behalf of a nationwide class of public offering investors. The

Court approved a $1.0 million cash settlement to a nationwide class of investors.

       Singh v. Tri-Tech Holding, Inc., No. 13-CV-9031 (KMW). The Rosen Law Firm was

co-Lead Counsel in this class action in the U.S. District Court for Southern District of New

York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company concealing its true financial condition. The parties settled this action

for $975,000 in cash.

       Xu v. ChinaCache International Holdings, Ltd., No. CV 15-7952-CAS. The Rosen Law

Firm was sole Lead Counsel in this class action pending in the U.S. District Court for Central

District of California. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. While on appeal following the dismissal of the case, the parties agreed to settle the

action for $950,000 in cash.

       Howard v. Chanticleer Holdings, Inc.., No. 12-CV-81123-JIC. The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

Florida. The complaint alleged violations of the Securities Act of 1933 in connection with

material misrepresentations in the Company’s Registration Statement and Prospectus issued for

the Company’s public offering of common stock and warrants. The parties agreed to settle this

action for $850,000 in cash.




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       Pollock v. China Ceramics Co. Ltd, No. 1:14-cv-4100 (VSB). The Rosen Law Firm was

co-Lead Counsel in this consolidated class action in the U.S. District Court for Southern District

of New York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s lack of internal controls. The parties settled this action for

$850,000, consisting of $310,000 in cash and $540,000 in stock.

       Katz v. China Century Dragon Media, Inc., Case no. CV 11-02769 JAK (SSx). The

Rosen Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the

Central District of California. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of the

Securities Act of 1933 and §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading financial statements. Following entry of

default against the issuer and certification of the class, the non-issuer defendants and Plaintiffs

agreed to resolve their claims against the non-issuer defendants for $778,333.33.

       Allen v. Pixarbio Corp., No. 2:17-cv-496-CCC-SM. The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for District of

New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading business information.

The parties agreed to settle this case for $750,000 in cash, pending court approval.

       In re Stemline Therapeutics, Inc. Securities Litigation, 17-cv-832 (PAC). The Rosen

Law Firm was co-Lead Counsel in this class action in the U.S. District Court for the Southern

District of New York. Following the dismissal of the action and while on appeal with the U.S.

Court of Appeals for the Second Circuit, the parties settled this action for $625,000 in cash.

       In re China Intelligent Lighting and Electronics, Inc. Securities Litigation, No. 2:11-CV-

02768 PSG (SSx). The Rosen Law Firm was co-Lead Counsel in this consolidated class action

in the U.S. District Court for the Central District of California. The complaint alleged violations

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of §§ 11, 12(a)(2), and 15 of the Securities Act of 1933 and §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading financial

statements. The parties agreed to partially settle this action for $631,600 in cash. A default

judgment was obtained against the issuer.

       Gianoukas v. Tullio and Riiska, Case No. 02CC18223. The Rosen Law Firm was lead

counsel to a group of twenty-one plaintiffs that brought claims of fraud and negligent

misrepresentation in California Superior Court, Orange County against the former Chief

Executive and Chief Financial Officers of a publicly traded software company, NQL Inc. The

complaint alleged that the officers issued a series of false and misleading press releases

concerning the business of NQL for the purpose of inducing the purchase and retention of NQL

securities. Plaintiffs settled the action favorably for a confidential amount.

       The BoxLot Company v. InfoSpace, Inc., Case No. GIC 779231. The Rosen Law Firm

was plaintiff’s counsel for this action filed in California Superior Court, San Diego County

which arose from the aborted merger agreement and ultimate sale of The BoxLot Company’s

assets to InfoSpace. The action alleged violations of California securities laws (Cal. Corp. Code

§25400 & §25401) and common laws and sought damages of $92.8 million from InfoSpace and

its CEO, Naveen Jain. The case settled favorably for plaintiffs for a confidential amount.

       Hull v. Global Digital Solutions, Inc., No. 16-5153 (FLW). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. The parties agreed to settle this action for $595,000 in cash, pending Court

approval.




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       Scalfani v. Misonix Inc., No. 16-cv-5215 (ADS) (AKT). The Rosen Law Firm was sole

Lead Counsel in this class action in the U.S. District Court for the Eastern District of New York.

The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of false financial statements. The parties have settled this action for

$500,000 in cash—resulting in a recovery of nearly 100% of damages.

       Teague v. Alternate Energy Holdings, Inc., No. 10-CV-634-BLW. The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the District of Idaho.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial statements and business

condition. The parties settled this action for $450,000.

       Huttenstine v. Mast, Case No. 4:05-cv-152 F(3). The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for the

Eastern District of North Carolina. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s material misstatements and omissions

concerning the nature of certain sales contracts it had entered into. Plaintiffs have preliminarily

agreed to settle this action for a $425,000 cash payment to class members.

       In re Forcefield Energy, Inc. Securities Litigation, No. 15-cv-3020 (NRB). The Rosen

Law Firm was Lead Counsel in this class action in the U.S. District Court for Southern District

of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of materially false and misleading information. The

parties agreed to settle this case for $414,500.

       Kinzinger v. Paradigm Medical Industries, Inc., Case No. XX-XXXXXXX. The Rosen Law

Firm served as sole Lead Counsel in this class action filed in Utah state court alleged violations

of the Utah Securities Act against Paradigm Medical arising out of false and misleading

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statements made to investors in a $5.0 million private placement of securities. The court

approved a $625,000 settlement on behalf of the private placement purchasers.

III.  SECURITIES CLASS ACTIONS IN WHICH THE ROSEN LAW FIRM P.A. IS CURRENTLY
LEAD COUNSEL

       In re Puda Coal Securities Litigation, No. 11-CV-2598 (DLC). The Rosen Law Firm is

currently serving as co-Lead Counsel in this consolidated class action pending in the U.S.

District Court for the Southern District of New York. The complaint alleges violations of the

Exchange Act and Securities Act arising out of the Company’s issuance of materially false and

misleading financial statements. The class is certified and this action is in discovery.

       In re Spectrum Pharms. Inc. Securities Litigation, No. 16-cv-2279-RFP-GWF. The

Rosen Law Firm is currently serving as co-Lead Counsel in this consolidated class action

pending in the U.S. District Court for the District of Nevada. The complaint alleges violations of

the Exchange Act in connection with the Company’s issuance of materially false and misleading

business information. The action is in discovery.

       Van Dorp v. Indivior PLC, No. 19-CV-10792-ES-MAH. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the District of New Jersey. The complaint alleges violations of the Exchange Act in connection

with the Company’s issuance of materially false and misleading business information. This

action is at the pleading stage.

       Grand Clam Capital Master Fund, Ltd. v. Rosen, No. 19-cv- 5362 (PGG). The Rosen

Law Firm is currently serving as sole Lead Counsel in this class action pending in the U.S.

District Court for the Southern District of New York brought on behalf of Fusion Connect, Inc.

investors. The complaint alleges violations of the Exchange Act in connection with the




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Company’s issuance of materially false and misleading financial statements. The action is at the

pleading stage.

       Sell v. Acer Therapeutics, Inc., No. 19-CV-6137 (GHW). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Southern District of New York. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. The action is at the pleading stage.

       Yangtze River Port and Logistics Limited, No. 19-CV-24 (DLI) (LB). The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court for the Eastern District of New York. The complaint alleges violations of the Exchange

Act in connection with the Company’s issuance of materially false and misleading financial

statements. The action is at the pleading stage.

       Luo v. Qiao Xing Universal Resources, Inc., No. 12-45-WAL-GWC. The Rosen Law

Firm is currently serving as sole Lead Counsel in this consolidated class action pending in the

U.S. District Court of the Virgin Islands, St. Croix Division. The complaint alleges violations of

the Exchange Act in connection with the Company’s issuance of materially false and misleading

financial statements. The action is at the pleading stage.

       Lachman v. Revlon, Inc., No. 19-CV-2859 (ARR) (RER). The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

the Eastern District of New York. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. The action is at the pleading stage.

       Chan v. New Oriental Education & Technology Group Inc., No. 16-CV-9279-KSH. The

Rosen Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S.

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District Court for the District of New Jersey. The complaint alleges violations of the Exchange

Act in connection with the Company’s issuance of materially false and misleading financial

statements. This action is at the pleading stage.

       Shi v. Ampio Pharmaceuticals, Inc., CV-18-7476-SJO-(RAOx). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Central District of California. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. The action is at the pleading stage.

       Machniewicz v. Uxin Limited, No. 19-CV-822 (MKB)(VMS). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Eastern District of New York. The complaint alleges violations of the Securities Act in

connection with the Company’s issuance of materially false and misleading financial statements.

The action is at the pleading stage.

       Pepicelli v. Innocoll Holdings Public Ltd., No. 17-341. The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for the

Eastern District of Pennsylvania. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. This action is at the pleading stage.

       In re Silver Wheaton Corp. Securities Litigation, No. 15-cv-5146-CAS. The Rosen Law

Firm is currently serving as sole Class Counsel in this certified class action pending in the U.S.

District Court for the Central District of California. The complaint alleges violations of §§10b

and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially

false and misleading financial statements. This action is in discovery.




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       Ito-Stone v. DBV Technologies S.A., No. 19-CV-525-MCA-LDW. The Rosen Law

Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the District of New Jersey. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. This action is at the pleading stage.

       Hrasok v. Kraton Corporation, No. 18-CV-591. The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for the

Southern District of Texas. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the company’s issuance of materially false and misleading business

information. This action is at the pleading stage.

       Li v. Aeterna Zentaris. Inc., No. 14-CV-07081 (PGS). The Rosen Law Firm is currently

serving as Class Counsel in this certified class action pending in the U.S. District Court for

District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. This action is in discovery.

       Carmona v. Loma Negra Compania Industrial Argentina Sociedad Anonima, No. 18-cv-

11323 (LLS). The Rosen Law Firm is currently serving as sole Lead Counsel in this class action

pending in the U.S. District Court for Southern District of New York. The complaint alleges

violations the Securities Exchange Act and Securities Act arising out of the Company’s issuance

of materially false and business information. The case is at the pleading stage.

       Tchatchou v. India Globalization Capital, Inc., No. 18-cv-3396-PWG. The Rosen Law

Firm is currently serving co-Lead Counsel in this class action pending in the U.S. District Court

for the District of Maryland. The complaint alleges violations of §§10b and 20(a) of the




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Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The action is at the pleading stage.

       Duane & Virginia Lanier Trust v. Sandridge Energy, Inc., et al. The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

the Western District of Oklahoma. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act and Sections 11, 12(a)(2), and 15 of the Securities Act arising out of the

Company’s issuance of materially false and misleading business information. This action is in

discovery.

       In re Zillow Group, Inc. Sec. Litig., No. C17-1387-JCC. The Rosen Law Firm is

currently serving sole Lead Counsel in this class action pending in the U.S. District Court for the

Western District of Washington. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is in discovery.

       Hartmann v. Verb Technology Company, Inc., No. CV-19-5896-GW-(MAAx). The

Rosen Law Firm is currently serving as sole Lead Counsel in this class action pending in the

U.S. District Court for the Central District of California. The complaint alleges violations of the

Exchange Act in connection with the Company’s issuance of materially false and misleading

business information. This action is at the pleading stage.

       Mikhlin v. Oasmia Pharmaceuticals AB., No. 19-cv-4349 (NGG) (RER). The Rosen

Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the Eastern District of New York. The complaint alleges violations the Securities

Exchange Act arising out of the Company’s issuance of materially false financial statements.

The case is at the pleading stage.




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       In re Blue Apron Holdings, Inc. Sec. Litig., No. 17-CV-4846 (WFK)(PK). The Rosen

Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the Eastern District of New York. The complaint alleges violations Sections 11,

12(a)(2), and 15 of the Securities Act arising out of the Company’s issuance of materially false

and misleading business information. This action is at the pleading stage.

       Lai v. PPDAI Group Inc., No. 18-cv-6716 (FB)(JC). The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for Eastern

District of New York. The complaint alleges violations the Securities Exchange Act and

Securities Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       Barney v. Nova Lifestyle, Inc., No. CV 18-10725-AB-AFM. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The action is at the pleading stage.

       Renner v. Teladoc Health, Inc., No. 18-cv-11603 (GHW). The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       In re ChinaCast Education Corporation Sec. Litig., No. CV 12-4621- JFW (PLAx). The

Rosen Law Firm is currently serving as co-Lead Counsel in this consolidated class action.

Following dismissal of the complaint by the district court, the U.S. Court of Appeals for the

Ninth Circuit overturned the dismissal. The complaint alleges violations of §§10b and 20(a) of

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the Securities Exchange Act arising out of the Company overstating it assets and cash balances

and misstating the Company’s internal controls. The action is in discovery.

       In re Global Brokerage, Inc. f/k/a FXCM, Inc. Sec. Litig., 17-cv-916 (RA). The Rosen

Law Firm is currently serving as sole Lead Counsel in this class action pending in the U.S.

District Court for Southern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

and business information. The case is in discovery.

       Marchand v. Momo, Inc., 19-CV-4433 (GBD). The Rosen Law Firm is currently serving

as sole Lead Counsel in this class action pending in the U.S. District Court for Southern District

of New York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of materially false and business information. The

case at the pleading stage.

       May v. KushCo Holdings, Inc., No. 19-cv-798-JLS-KES. The Rosen Law Firm is

currently serving as Co-Lead Counsel in this class action pending in the U.S. District Court for

Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       Ulbricht v. Ternium S.A., No. 18-cv-6801(PKC) (RLM). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       He v. China Zenix Auto International, No. 18-cv-15530 (JLL) (JAD). The Rosen Law

Firm is serving as sole lead counsel in this consolidated class action pending in U.S. District

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Court for the District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       Horowitz v. Sunlands Technology Group, No. 19-CV-3744 (FB)(SMG). The Rosen Law

Firm is serving as sole lead counsel in this class action pending in U.S. District Court for the

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       Duvnjak v. Box, Inc., No. 19-cv-3173-PJH. The Rosen Law Firm is currently serving as

Co-Lead Counsel in this class action pending in the U.S. District Court for Northern District of

California. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and business information. The case is

at the pleading stage.

       Salim v. Mobile TeleSystems PJSC, No. 19-cv-1589 (AMD) (RLM). The Rosen Law

Firm is serving as sole lead counsel in this class action pending in U.S. District Court for the

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       In re USA Technologies, Inc. Sec. Litig., No. 18-cv-13759-CCC-CLW. The Rosen Law

Firm is serving as sole lead counsel in this consolidated class action pending in U.S. District

Court for the District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.




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       Brandel v. Sibanye Gold Limited, No. 18-cv-3721 (KAM) (PK). The Rosen Law Firm is

currently serving as Co-Lead Counsel in this class action pending in the U.S. District Court for

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       Chu v. BioAmber, Inc., 17-cv-1531 (ADS) (GRB). The Rosen Law Firm is currently

serving as Co-Lead Counsel in this class action pending in the U.S. District Court for Eastern

District of New York. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       In re Aceto Corporation Sec. Litig., No. 18-CV-2425 (JFB)(AYS). The Rosen Law Firm

is currently serving as sole Lead Counsel in this consolidated class action pending in the U.S.

District Court for Eastern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

financial information. The case is at the pleading stage.

       Phetteplace v. Cancer Genetics, Inc., 18-CV-5612-ES-SCM. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false financial information.

The case is at the pleading stage.

       Thomas v. China Techfaith Wireless, 19-CV-134-FB-CLP. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the




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Securities Exchange Act arising out of the Company’s issuance of materially false financial

information. The case is at the pleading stage.

       Luo v. Sogou, Inc., No. 19-cv-230 (JPO). The Rosen Law Firm is serving as co-ead

counsel in this class action pending in U.S. District Court for the Southern District of New York.

The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading business information. This case is

at the pleading stage.

       Kupfner v. Altice USA Inc., No. 18-cv-6601-FB-PK. The Rosen Law Firm is serving as

sole lead counsel in this class action pending in U.S. District Court for the Eastern District of

New York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

and §§11, and 15 of the Securities Act arising out of the Company’s issuance of materially false

and misleading business information. This case is at the pleading stage.

       Kauffman v. Natural Health Trends Cop., 19-CV-163-MWF-JPR.              The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court for Central District of California. The complaint alleges violations of §§10b and 20(a) of

the Securities Exchange Act arising out of the Company’s issuance of materially false financial

information. The case is at the pleading stage.

       Vignola v. FAT Brands, Inc., No. CV 18-7469 PSG (PLAx). The Rosen Law Firm is

serving as co- lead counsel in this class action pending in U.S. District Court for the Central

District of California. The complaint alleges violations of §§11 and 15 of the Securities Act

arising out of the Company’s issuance of materially false and misleading business information.

This case is at the pleading stage.

       Checkman v. Allegiant Travel Co., No. 18-cv-3417-JFW-AS. The Rosen Law Firm is

serving as sole lead counsel in this class action pending in U.S. District Court for the Central

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District of California. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. This case is at the pleading stage.

       Kumar v. Kulicke and Soffa Industries, Inc., No. 19-cv-362-CDJ. The Rosen Law Firm

is serving as co-Lead Counsel in this class action that is pending in U.S. District Court for the

Eastern District of Pennsylvania. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false statements to

the investing public. This case is at the pleading stage.

       Chapman v. Mueller Water Products, Inc., No. 19-cv-3260-KPF. The Rosen Law Firm is

serving as sole Lead Counsel in this class action that is pending in U.S. District Court for the

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false statements.

This case is at the pleading stage.

       Ramzan v. GDS Holdings Limited, No. 4:18CV539-ALM-KPJ. The Rosen Law Firm is

serving as sole Lead Counsel in this class action that is pending in U.S. District Court for the

Eastern District of Texas. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false statements to the

investing public. This case is at the pleading stage.

       Castillo v. 6D Global Technologies, Inc., No. 15-cv-8061 (RWS). The Rosen Law Firm

is serving as sole Lead Counsel in this class action that is pending in U.S. District Court for the

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false statements

about the improper stock manipulation. After successfully appealing the dismissal of this action

with the Second Circuit Court of Appeals, this case is in discovery.

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       City of Taylor General Employees Retirement System v. Astec Industries, Inc., No. 1:19-

cv-PLR-CHS. The Rosen Law Firm is serving as sole lead counsel in this class action pending

in U.S. District Court for Eastern District of Tennessee. The complaint alleges violations of

§§10b and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of

materially false and misleading business information. This case is at the pleading stage.

       Vanderhoef v. China Auto Logistics, Inc., No. 18-cv-10174-CCC. The Rosen Law Firm

is serving as sole lead counsel in this class action pending in U.S. District Court for the District

of New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of materially false and misleading business

information. This case is at the pleading stage.

       Pepe v. CoCrystal Pharma, Inc., No. 18-cv-14091-KM-JBC. The Rosen Law Firm is

serving as sole lead counsel in this class action pending in U.S. District Court for the District of

New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading business information

and stock manipulation. This case is at the pleading stage.

       Miller v. Sonus Networks, Inc., No. 18-12344-GAO. The Rosen Law Firm is serving as

co- lead counsel in this class action pending in U.S. District Court for District of Massachusetts.

The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading business information. This case is

at the pleading stage.

       In re Pretium Resources, Inc. Sec. Litig., no. 1:18-cv-8199 (LAP). The Rosen Law Firm

is serving as sole lead counsel in this consolidated class action pending in U.S. District Court for

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the




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Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       In re Centurylink, Inc. Sec. Litig., No. 2:19-cv-1629-CBM-GJS. The Rosen Law Firm is

serving as co- lead counsel in this consolidated class action pending in U.S. District Court for

Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       Nguyen v. Endologix, Inc., No. 17-CV-17AB. The Rosen Law Firm is currently serving

as sole Lead Counsel in this class action currently on appeal with the U.S. Court of Appeals for

the Ninth Circuit. The complaint alleges violations of the Exchange Act in connection with the

Company’s issuance of materially false and misleading financial statements.

       Edgar v. Anadarko Petroleum Corporation, No. 17cv-1372. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action currently on appeal with the U.S.

Court of Appeals for the Fifth Circuit. The complaint alleges violations of §§10b and 20(a) of

the Securities Exchange Act arising out of the company’s issuance of materially false and

misleading business information.

       Sgarlata v. PayPal Holdings, Inc., No. 17-CV-6956-EMC. The Rosen Law Firm is

currently serving as co- Lead Counsel in this class action on appeal with the U.S. Court of

Appeals for the Ninth Circuit. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information.

       Wochos v. Tesla, Inc., No. 3:17-cv-5828-CRB. The Rosen Law Firm is currently serving

as sole Lead Counsel in this class action currently on appeal with the U.S. Court of Appeals for

the Ninth Circuit. The complaint alleges violations of §§10b and 20(a) of the Securities

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Exchange Act arising out of the Company’s issuance of materially false and misleading business

information.

       In re Omega Healthcare Investors, Inc. Litigation, 17-cv-8983 (NRB). The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action currently on appeal with the

U.S. Court of Appeals for the Second Circuit. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

and business information.




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